Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document      Page 1 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document      Page 2 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document      Page 3 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document      Page 4 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document      Page 5 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document      Page 6 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document      Page 7 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document      Page 8 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document      Page 9 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 10 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 11 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 12 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 13 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 14 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 15 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 16 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 17 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 18 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 19 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 20 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 21 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 22 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 23 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 24 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 25 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 26 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 27 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 28 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 29 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 30 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 31 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 32 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 33 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 34 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 35 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 36 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 37 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 38 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 39 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 40 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 41 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 42 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 43 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 44 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 45 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 46 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 47 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 48 of 49
Case 19-02525-DSC7   Doc 1    Filed 06/24/19 Entered 06/24/19 15:38:13   Desc Main
                             Document     Page 49 of 49
